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                            UN ITE D STA TES DIST RIC T CO UR T
                            SO U TH ER N D ISTR ICT O F FLO R ID A
                                        M iam iDivision

                                                     M DL N o.2599
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                                                     14-24009-C V -M O REN O

 IN RE :

 TA K ATA A IR BA G PR O DU CT S
 LIAB ILITY LITIG ATIO N


 THIS DO CUM EN T RELA TES TO A LL
 ECO N OM IC LO SS TRA CK CA SES
                                /

            ORDER GM NTING IN PART AND DENYING IN PART SUBARU
                   O F AM ER IC A IN C .'S M O TIO N TO D ISM ISS

        THIS CAUSE comes before the Courtupon Subaru of America,lnc.'s (;$E;tlllftrtl''l5

 MotiontoDismiss(kûM otion'')(D.E.615),filedonJulv 17.2015.
        THE COURT hasreviewed the M otion,Plaintiffs'OmnibusResponse (D.E.658)and
 Subaru'sReply (D.E.696).Additionally,the partiesraised someoftheirbriefed argumentsat
 oralargum entheld on Friday,O ctober 23,2015.Subaru's M otion asks the Courtto dism iss all

 countsallegedagainstitin theSecondAmendedEconomicLossComplaint(iicomplaint'')(D.E.


                                             BA CK G R O U ND

        This order pertains to the econom ic loss track cases.ln the Com plaint,Plaintiffs allege 8
 counts against Subaru.l These 8 counts against Subaru consist of the following:Count 3 for



  l      This tigure does not include Counts 104-106 alleged by the Autom otive Recycler's
 Association. The A utom otive D efendants m oved to dism iss these three Counts and the Court
 ruled in their favor.As these Counts have been dism issed,the Courtdoes notaddress argum ents
 in the M otion,O m nibusResponse,and Reply addressing them .
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 violationsofthe M agnuson-M ossW arranty Act,Count36 forfraudulentconcealm ent,Count37

 for Breach of New Jersey's Implied W arranty of M erchantability, Count 38 for unjust
 enrichm ent,Count39 forviolation ofthe N ew Jersey's Consum erFraud A ct,Count47 on behalf

 ofa Florida sub-class alleging violation ofthe Florida D eceptive and U nfairTrade Practices A ct

 (SCFDUTPA''),Count48 on behalfofa Florida sub-classalleging breach ofFlorida'simplied
 warranty ofm erchantability,and Count49 on behalf of an A labam a sub-class alleging violation
 ofA labam a'sD eceptive Trade PracticesA ct.2

        These 8 counts arise outoftw o N am ed Plaintiffs'Subaru purchases.Specifically,the two

 Named Plaintiffsare M ichaelW alkerand Regina Reilly.W alkerpurchased hisSubaru,used,in

 Florida.Reilly purchased her Subaru,used,in A labam a.Reilly's claim s were direct-filed into the

 M DL, as he is a Named Plaintiff in the Com plaint and his case had not previously been

 transferred to the Southern D istrict of Florida. W alker's claim s were transferred to the Court

 from the Eastern D istrictofPennsylvania.

                                    II.     LE G AL STA N DA R D

        kiA pleading that states a claim for relief m ustcontain ...a shortand plain statem entof

 theclaim showing thatthepleaderisentitled to relief.'' Fed.R.Civ.P.8(a)(2).To sulwive a
 m otion to dism iss,a ltcom plaintm ustcontain sufficient factualm atter,accepted as tnle,to lstate

 a claim to reliefthat is plausible on its face.'''Ashcro.jtv.lqbal,556 U.
                                                                         S.662 (2009)(quoting
 BellAtl.Corp.v.Twombly,550U.S.544 (2007)).Detailed factualallegationsare notrequired,
 but a pleading m ust offer m ore than iilabels and conclusions''or ç$a form ulaic recitation of the

 elem entsofthe cause of ad ion.'' Twom bly,550 U .S.at555.




        The Order does notapply to any ofthe claims for injunctive relief.The Courtwill
 considertheargumentsconcem inginjunctivereliefinalaterorder.
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        W hereacauseofaction soundsin fraud,however,FederalRuleofCivilProcedure9(b)
 mustbesatisfied in addition to themore relaxed standard ofRule 8.UnderRule9(b),ikaparty
 m ust state w ith particularity the circum stances constituting fraud or m istake,'' although

 Siconditionsofa person'sm ind,''such asm alice,intent,and know ledge m ay be alleged generally.

 Fcd.R.Civ.P.9(b).Si-f'he 'particularity'requirementserves an importantpurpose in fraud
 actions by alerting defendants to the precise m isconduct w ith w hich they are charged and

 protecting defendants against spuriouschargesofimm oraland fraudulentbehavior.''lrr Coast

 Roohng & Waterproohng,Inc.v,Johns Manville,Inc.,287 F.App'x 81,86 (11th Cir.2008)
 (citationsomitted).
                                       111.    A N ALY SIS

    A. Choice ofLaw Analysis

        Plaintiffs assert two counts against Subaru arising only under New Jersey Law.

 Specifically, Counts 37 and 39 allege violations of N ew Jersey's Im plied W arranty of

 M erchantability and N ew Jersey's Consum er Fraud A ct.Subaru argues thatthe counts asserting

 New Jersey law should be dism issed because kitheapplicable choice oflaw rulesdictate thatthe

 lawsofthehome statesofW alker(andlReilly...govern theirclaims,and notthelaw ofNew
 Jersey,''(D.E.615,at9).TheCourtagrees.W hile Plaintiffsargue a ehoiee oflaw inquiry is
 prem ature,the issue has been briefed and,atleastwith regard to the claims againstSubaru.can

 be decided by the Courtwithout further factualdevelopm ent.As such,the Courtapplies the

 choiceoflaw analysisprescribed in itsOrderGranting in Partand Denyingin PartM azda M otor

 ofAmeriea,lnc.D/B/A/M azda North American Operations'M otion to Dismiss(D.E.1099)
 (ttpreviousOrder'')forthereasonsstatedtherein.
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        Accordingly,Florida's choice of law rules apply to Reilly's claim s because herclaims

 were filed directly in the Southern District of Florida.A nd Pennsylvania's choice of law rules

 apply to W alker's claim s because his case w as transferred into the M D L from the Eastern

 DistrictofPermsylvania.The Courttindsthatunder Florida and Pennsylvania's choice oflaw

 rules, N ew Jersey 1aw should not apply to the instant actions. N either of the tw o N am ed

 Plaintiffs reside in N ew Jersey, nor did they reside in N ew Jersey at the tim e of purchase.3

 Plaintiffsdo notallege thatthe vehiclesatissue were purchased in New Jersey orthatPlaintiffs

 saw or heard any allegedly deceptive advertisem ents about Subanl in New Jersey.Nor do

 Plaintiffsallege thatthe vehicles atissue w ere m anufactured in N ew Jersey.The only significant

 tie to N ew Jersey alleged is thatSubaru is headquartered in N ew Jersey.This tie isnotenough to

 defeatthe interests ofFlorida and Alabama in the instantactions,as these states are where the

 vehicles w ere purchased and w here the alleged hann--overpaym entfor a purportedly defective

 car- w as suffered.

        A pplying Pennsylvania's choice of 1aw rules to W alker's claim ,substantive Florida 1aw

 applies to his claim s,as he purchased the vehicle in Florida and resides in Florida, and thus,

 Floridahasmore ofan interestin the claim sthan doesN ew Jersey.Applying Florida'schoice of

 law rulesto Reilly'sclaims,Alabam a substantive law governsherclaim , asthepurported harm

 wouldhaveoccurred in Alabama,where W alkerpurchased hervehicle.

        Because New Jersey law does notgovern the claims broughtagainst Subaru,Subaru's

 M otion is G R AN TED as to the counts exclusively alleging claim s under N ew Jersey law .

 Accordingly,Count37 and Count39 are hereby DISM ISSED .




 3       SPecifically, Reilly resides in Alabam a and purchased her Subaru in Alabam a;W alker
 resides in Florida and purchased his Subaru in Florida.

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     B. M anifestation ofA lleged Defectand C laim s for Econom ic D am ages

        Consistentw ith the Court's Previous Order,and forthe reasons stated therein,the Court

 agrees with Plaintiffs'argum entregarding manifestation.As stated in the Previous Order,the

 Court'stinding islim ited to themotion to dismissstage,taking astrue Plaintiffs'allegationsofa

 unifonn defect based on the use of am m onium nitrate as a propellant.The Court notes that

 Defendants have raised the possibility of other causes and factors contributing to the airbag

 intlator m alfunctions. A ccordingly, these fad ors m ay be appropriately considered at the

 summaryjudgementstage.
    C . Subaru's K now ledge

        Consistentwith the Court's PreviousOrder,and forthe reasons stated therein,the Court

 tindsthatPlaintiffshavesufficienttyallegedSubaru'sknowledgeoftheallegedintlatordefectto
 satisfythepleadingrequirementsofRule9(b).
    D . FraudulentC oncealm entand State Law Deceptive T rade Practices A cts

        Subaru m oves to dism iss Count 36,Count47,and Count49 for fraudulentconcealm ent

 and violationsofAlabam aandFlorida'sdeceptivetradepracticesacts.

           Reilly'sClaim ForFraudulentConcealment(Count36)andViolation ofthe
           AlabamaDeceptiveTradePracticesAct(Count49)
        Subaru argues Reilly's claim s offraudulentconcealment and violation ofthe Alabam a

 Deceptive Trade PracticesActshould be dism issed,in part,because Plaintiffs have notm etthe

 heightenedpleadingrequirementsofRule9(b)and havenotsuffcientlypleaded relianceon the
 alleged concealm ent and resulting dam ages. Additionally, Subanl asserts Plaintiffs have not

 plausibly alleged thatSubaru had a duty to disclose any information aboutthe Takata airbagsto

 Reilly,a used carpurchaser.




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         Here, Plaintiffs have alleged thatSubaru tihad a duty to disclose the Inflator Defect

  because it...(mlade incomplete representationsaboutthe safety and reliability ofthe Class
 Vehicles,w hile purposefully w ithholding m aterial facts from Plaintiffs that contradicted these

 representations.''(D.E.579 ! 867).Plaintiffs have alleged Subaru made various statements
 regardingthesafety ofitsvehiclespriortoReilly'spurchase.(D.E.579! 310(g)).Specifcally,
 Plaintiffs allege that in 2005,Subaru ûûrepresented in its brochures: Advaneed frontair bags,

 including passenger-side dual-stage deploym ent,help provide optim al protection for the driver

 and frontpassenger.''1d.Plaintiffs also claim that,in 2005,Subaru stated on its website that

 ùbjfjeatureslike seatbeltswith fronlpretensionersand force limiters,crumplezones,side-impact
 beam s,frontairbags,and Ring-shaped Reinforcem entFrame aid in minimizing the effects of

 collision.''ld.

        Subaru's argum ents as to Count 36 and Count 49 are substantially sim ilar to the

 argum ents asserted by M azda,and addressed in the Court's Previous Order.Consistentwith that

 Order,and forthe reasonsstated therein,the CourtfindsthatPlaintiffshave sufticiently alleged

 claim s for fraudulent concealm entand violation ofthe A labam a D eceptive Trade Practices Act.

 Therefores Subaru's m otion to dism iss Count 36 as to Plaintiff Reilly and C ount 49 is hereby

 D ENIED .

        2. W alker'sClaim ForFraudulentConcealment(Count36)andViolation ofthe
           FloridaDeceptiveand UnfairTradePracticesAct(Count47)
        Subaru arguesW alker's fraudulentconcealmentand Florida Deceptive and UnfairTrade

 Practices Act claim s should be dism issed because Plaintiffs have not m et the heightened

 pleading requirementsofRule9(b)andhavenotadequately pleaded Subanlhadknowledgeofa
 defect.As discussed,supra, and in the Court's previous Order, Plaintiffs have adequately

 pleaded both know ledge and fraudulentconcealm entw ith sufticientparticularity.



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         Aside from the knowledge and fraud pleading standards raised by Subaru, Subaru's

  rem aining contention is that Plaintiffs have not sufticiently alleged causation or detrim ental

 reliance.Specifically,Subaru argues thatûtthere are no pleaded facts establishing the essential

 elementoftcausation'required underFDUTPA.''(D.E.615 at26).Additionally,Subaru argues
 thatiûthere are no pleaded facts establishing the Subaru Plaintiffs'detrimentalreliance on any

 allegedfraudulentactoromissionof(Subaru),whichisrequiredforcommon 1aw fraud.''Id.
         UnderFlorida law,a valid Florida Deceptive and UnfairTrade PracticesActelaim must

 establish three elements:(1)a deceptive actor unfairpractice;(2)causation;and (3)actual
 damages.Rollins,Inc.v.Butland,951 So.2d 860,869 (F1a.2d DCA 2006),$igA1deceptive
 practiceisone thatislikely to m islead consumers.''Davis v.Powertel, lnc.,776 So.2d 971,974

 (Fla.1stDCA 2000)(internalquotation omitted).Here,Plaintiffshave pleaded thatSubaru's
 alleged omissionsand eoncealed materialfadscaused Plaintiffsinjuries.(D.E.658 at70-71).
 Specifically,Plaintiffsassertthatkkbutfor(Subaru'slomission ofadangeroussafety defect- a
 highly m aterial fact for consum ers Plaintiffs would not have purchased Class Vehicles or

 would nothave paid asmuch forthem asthey did.''/#.at70.

        At this m otion to dismiss stage, Plaintiffs have sufficiently alleged that Subaru's

 omissions caused them to purchase Subaru vehicles.For these reasons, the Court finds that

 Plaintiffshavealso plausibly alleged detrimentalreliance. Therefore,Subaru'sm otion to dism iss

 Count36 asto PlaintiffW alkerand Count47 ishereby DENIED .

    E. UnjustEnrichment
        Subaru m oves the Courtto dism iss Count 38, forunjustenrichment,asalleged by both

 Plaintiffs.




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        1. Reilly'sClaim ForUnjustEnrichmentUnderAlabamaLaw (Count38)
        Subanlargues thatReilly's claim for unjust emichmentmust be dismissed,in part,
 because Reilly purchased her purportedly defective used Subaru vehicle from a used car

 dealership, and thus, Subaru did not have possession of m oney belonging to Plaintiff.

 A dditionally, Subaru asscrts that because Reilly's vehicle is covered by a w ritten w arranty,

 Reillyhasanadequateremedyatlaw thatbarsherunjustenrichmentclaim .
        Consistentwith the Court'sPrevious Order,and forthe reasons stated therein,the Court

 cannot reasonably infer from the facts alleged that Subaru ever held any m oney belonging to

 Plaintiff.Accordingly,Reilly cannotmaintain aclaim forunjustenrichmentand theCourtneed
 not reach the issue of whether an express contract covers Reilly's used Subaru vehicle.

 Therefore, Subaru's motion to dism iss Reilly's fraudulent concealment claim           hereby

 G R ANTED .Count38 asto PlaintiffReilly ishereby D ISM ISSED .

        2. W alker'sClaim ForUnjustEnrichmentUnderFloridaLaw (Count38)
        Subaru argues,inpart,thatW alker'sunjustenrichmentclaim failsbecauseSûghledoesnot
 allege to have purchased the vehicle from gsubaruloreven an authorized Subaru dealer.As
 such,no benefitwas eonferred upon and retained by gsubarul.''(D.E.615 at23).Plaintiffs
 respond thatwhile plaintiffs muslitdirectly confer a benefiton defendants, they need nothave

 directcontactwith the defendantsto do so''because a plaintiffs'benefitto a defendantmay be

 'ipassed through a third party.''(D.E.658 at 54-55).However,because Plaintiffs have not
 plausibly alleged W alker conferred any benefit,directly or indirectly, on Subaru,the Court

 agreesw ith D efendant.

       UnderFlorida law,ttla)claim forunjustemichmenthasthree elements:(1)theplaintiff
hasconferredabenefitonthedefendant;(2)thedefendantvoluntarily acceptedand retained that



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 benetit;and (3)the circumstancesare such thatitwould be inequitable forthe defendantsto
 retain it without paying the value thereof.'' Virgilio v.Ryland Grp., lnc.,680 F.3d 1329, l337

 (11th Cir.2012),
                .Fla.PowerCorp.v.Cityof WinterPark,887 So.2d 1237,1241n.4(Fla.2004)
 (citing Ruck Bros.Brick,Inc.v.Kellogg & Kimsey,Inc.,668 So.2d 205,207 (Fla.2d DCA
 1995)).
        To supporttheirargum ent,Plaintiffsrely,in part,on Williamsv.WellsFargo BankN.A.,

 for the proposition that a plaintiff m ay confer a direct benefit on a defendantthrough indirect

 contact.N o. 11-21233-C1V -A LTO N AG A/Sim onton,201l U .S.D ist.LEX IS 119136,at*15-16

 (S.D.Fla.Oct.14,2011)(tiI1would notservetheprinciplesofjusticeand equityto precludean
 unjustenrichmentclaim merely because the 'benefit'passed through an intermediary before
 beingconferredonadefendanf').Williams,however,doesnotaddresstheprivatere-saleofused
 products.The Williams court,in relevant part, addressed whether eomm issions paid to the

 defendantfrom theplaintiffsforced-place insurance paym entsconstituted a directbenefit. 1d.at

 #14.There,the plaintiffs alleged thata kipaym entarrangem ent''existed between the defendant,

 the intermediary bank,and the plaintiffs.1#.at*16.Noting the kskickbacks and/orcom missions

 which were taken directly from the insuranceprem iums paid by Plaintiffss''the courtfound that

 Sleven ifthere was no directcontact between gthe defendantl and Plaintiffs,by paying the
 allegedly excessivepremiums,Plaintiffsdirectly conferred a benefiton gthe defendantl.''Id.at


        Though Plaintiffcorrectly asserts thatdirectbenefhs m ay be conferred through indirect

 contad,the Complaintdoes notplausibly allege thatW alkerconferred any benefiton Subaru.

 Plaintiffsallege that

        Subaru has received and retained a benefitfrom the Plaintiffs and inequity has
        resulted.Subaru benefitted through itsunjustconduct,by selling ClassVehicles


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         with a concealed safety-and-reliability related defect,at a profit,for m ore than
         these V ehicles were w orth,to Plaintiffs,w ho overpaid for these V ehicles,and/or
         would nothave purchased these Vehiclesatall;and who have been forced to pay
         othercosts.

  (D.E.121at!! 884-85).Yet,theseallegationsdonotplausiblyallegethatproceedsfrom thesale
  ofthe used Subaru vehicle,advertised and sold by independentthird parties,conferred a direct

 benefiton Subaru.Drawing allreasonable inferences in favorofPlaintiffs,the Courtfindsthcse

  allegationsinsufficiently allege W alkerconferred any benefiton Subaru.Thus,the claim m ustbe

 dismissed.Accordingly,Subaru'smotionto dismissisGRANTED asto the unjustenrichment
 claim . Count38 as to PlaintiffW alkeris hereby D ISM ISSED .

     F. BreachofFlorida'slmpliedW arranty ofM erchantability (Count48)andViolation
        oftheM agnuson M ossW arranty Act(Count3)
        Subaru m oves to dism iss Count 48, asserting breach of Florida's im plied w arranty of

 m ervhantability.ln Response,Plaintiffs state they 'dhave elected not to pursue im plied w arranty

 claimsunderFlorida''law.Consistentwith the Court'sPreviousOrder,and forthereasonsstated

 therein,the CourtGRANTS Subaru'smotion to dism issPlaintiffs'Florida im plied wanunty of

 m erchantability and M agnuson-M oss W arranty A ctclaim s.Therefore,Count48 and Count3 as

 to PlaintiffW alker are hereby D ISM ISSE D .

     G . M otion to Stay

        TheCourthasdeniedthepreviouslyfiledmotionto stay(seeD.E.737).Aceordingly,
 thism otion to stay ishereby D EN IED forthe sam e reasonsthe Courtdenied the previous

 m otion to stay.

                                       IV .   CO NC LU SIO N

        Based on the foregoing,itishereby

        ORDERED AND ADJUDGED that Subaru's Motion (D.E.615) is GM NTED IN
 PA RT and DEN IED IN PA RT . Specifically, Counts 37, 38, and 39 are D ISM ISSED as it
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  pertainsto both Reilly and W alker.Count3 and Count48,asasserted by W alkeronly,are also

  D ISM ISSED .


        DONEANDORDEREDinChambers,Miami,Florida,this V t
                                                      hdayofJune,2016.




                                                     F à        A.M ORENO
                                                 '     ITE D STA TES DISTR IC T JU DG E
 Copiesfurnished to:
 Counselofrecord
